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 6
 7                               IN THE UNITED STATES DISTRICT COURT
 8                         FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10 UNITED STATES OF AMERICA,                      )
                                                  )       Cr. No. S-11-262 WBS
11                         Plaintiff,             )
                                                  )       STIPULATION AND [PROPOSED]
12                                                )       ORDER CONTINUING STATUS
                    v.                            )       CONFERENCE; FINDING OF
13                                                )       EXCLUDABLE TIME
                                                  )
14 ERIK SOLISFOX,                                 )       Date: January 7, 2013
                                                  )       Time: 9:30 a.m.
15                         Defendant.             )       Judge: Hon. William B. Shubb
                                                  )
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17
                                             STIPULATION
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            Plaintiff, United States of America, through Assistant U.S. Attorney Jason Hitt and defendant
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     Erik Solisfox, through counsel Christopher Haydn-Myer, hereby stipulate and agree as follows:
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            1. A status conference is currently set for January 7, 2013 at 9:30 a.m.
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            2. By this stipulation, the above-named defendants now move to continue the status
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     conference to April 8, 2013 at 9:30 a.m., and to exclude time between January 7, 2013 to April 8,
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     2013 under Local Code T4. Plaintiff does not oppose this request.
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            3. The basis upon which the parties agree to this proposed continuance of the status
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     conference is as follows:
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            a.      The government has produced discovery which to date includes 689 pages containing
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                    investigative materials. Additionally, the government and counsel have been in
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 1                 negotiations to resolve the case, and the additional time is necessary for plaintiff and
 2                 defendant to reach a resolution to the case.
 3          b.     Counsel for defendant believes that failure to grant the above-requested continuance
 4                 would deny his client the reasonable time necessary for effective preparation, taking
 5                 into account the exercise of due diligence.
 6          c.     Plaintiff does not object to the continuance.
 7          d.     Based on the above-stated findings, the ends of justice served by continuing the status
 8                 conference as requested outweigh the best interest of the public and the defendant in
 9                 a trial within the original date prescribed by the Speedy Trial Act.
10          e.     For the purpose of computing time under the Speedy Trial Act, 16 U.S.C. § 3161, et
11                 seq., within which trial must commence, the time period from January 7, 2013, to
12                 April 8, 2013 inclusive, is deemed excludable pursuant to 18 U.S.C. § 3161(h)(7)(a),
13                 B (iv) [Local Code T4] because it results from a continuance by the Court at the
14                 defendants request on the basis of the Court’s finding that the ends of justice served
15                 by taking such action outweigh the best interest of the public and the defendants in a
16                 speedy trial.
17          4. Nothing in this stipulation and order shall preclude a finding that other provisions of the
18 Speedy Trial Act dictate that additional time periods are excludable from the period within which a
19 trial must commence.
20          5. Finally, Christopher Haydn-Myer has been authorized by counsel to sign this stipulation
21 on their behalf.
22 IT IS SO STIPULATED.
23 DATED: January 3, 2013                  BENJAMIN B. WAGNER
                                           United States Attorney
24
                                            /s/ Jason Hitt
25                                         JASON HITT
                                           Assistant United States Attorney
26                                         Attorney for Plaintiff United States
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   ///
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 1 DATED: January 3, 2013          LAW OFFICE OF CHRISTOPHER HAYDN-MYER
 2                                 /s/ Christopher Haydn-Myer
                                   CHRISTOPHER HAYDN-MYER
 3                                 Attorney for Defendant Erik Solisfox
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 5
                                         ORDER
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          IT IS SO FOUND AND ORDERED this 4th of January, 2013.
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